          Case 1:14-cr-00226-DAD-BAM Document 170 Filed 01/04/19 Page 1 of 2

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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:14-CR-00226-DAD-BAM

12                  Plaintiff,                         MOTION FOR CONTINUANCE; ORDER

13          v.

14

15   LEONOR SARABIA-RAMIREZ,

16                  Defendant.

17

18          The United States of America hereby moves for a continuance of the hearing on the Motion to

19 Dismiss Petitioner’s Ancillary Petition in the above-captioned case presently scheduled for Monday,

20 January 7, 2019, at 10:00 a.m.

21          At the end of the day on December 21, 2018, the appropriations act that had been funding the

22 Department of Justice expired and appropriations to the Department lapsed. The Department does not

23 know when funding will be restored.

24          Absent an appropriation, Department of Justice attorneys are prohibited from working, even on a

25 voluntary basis, except in very limited circumstances, including “emergencies involving the safety of

26 human life or the protection of property.” 31 U.S.C. § 1342. That exception is not deemed to include
27 most civil cases. Indeed, the undersigned Assistant United States Attorney is furloughed until the

28 appropriations to the Department of Justice are restored.

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          Case 1:14-cr-00226-DAD-BAM Document 170 Filed 01/04/19 Page 2 of 2

 1          Undersigned counsel therefore respectfully requests a continuance of the hearing on the Motion

 2 to Dismiss Petitioner’s Ancillary Petition until Congress has restored appropriations to the Department

 3 of Justice. If this request is granted, undersigned counsel will notify the Court promptly after Congress

 4 has appropriated funds for the Department of Justice, and will propose rescheduling as appropriate.

 5   Dated: January 3, 2019                                 McGREGOR W. SCOTT
                                                            United States Attorney
 6

 7                                                    By: /s/ Erin M. Sales
                                                          ERIN M. SALES
 8                                                        Assistant United States Attorney
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10                                                  ORDER
11                 The government’s motion for a continuance is granted and the hearing on the

12 government’s motion to dismiss presently scheduled for Monday, January 7, 2019, at 10:00 a.m. is

13 vacated. The government is directed to serve this order on the pro se petitioners immediately.

14 IT IS SO ORDERED.

15
        Dated:    January 3, 2019
16                                                    UNITED STATES DISTRICT JUDGE

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